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                         UNITED STATES DISTRICT COURT
 5
                        EASTERN DISTRICT OF CALIFORNIA
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 8                                            1:09-cv-01177-OWW-GSA
     THEODORE FURTADO MEDEIROS,
 9                                            MEMORANDUM DECISION RE: MOTION
                      Plaintiff,              FOR SUMMARY JUDGMENT (Doc. 56)
10
11        v.

12   COUNTY OF MERCED, et al.,

13                    Defendants.

14
                                I. INTRODUCTION.
15
          Theodore   Furtado   Medeiros       (“Plaintiff”) proceeds    with    an
16
     action pursuant to 42 U.S.C. § 1983.          Defendants Scott Clark and
17
     Eric Macias filed a motion for summary judgment on June 15, 2001.
18
     (Doc. 56). Plaintiff filed opposition on July 3, 2011. (Doc. 63).
19
                            II. FACTUAL BACKGROUND.
20
          At approximately 7:30 p.m. on May 19, 2008, Plaintiff drove
21
     his Polaris “Cushman” off-road vehicle to a property located on
22
     Fleming Road in search of the home of Frank Rose.                 Plaintiff
23
     intended to obtain Frank Rose’s phone number for a friend.                The
24
     property on Fleming Road was the residence of Elizabeth Coane.
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          Plaintiff drove into the driveway at the Coane residence,
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     which he mistakenly believed was Rose’s home.           Plaintiff looked
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     around and determined that he was at the wrong residence.                 The
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 1   parties dispute whether Plaintiff exited his vehicle at the Coane
 2   residence.     Plaintiff maintains that he put one foot on the ground
 3   in order to investigate a sound he heard on his vehicle, and that
 4   he never walked around the Coane property.
 5         Plaintiff left the Coane residence and located Frank Rose’s
 6   residence a few minutes later.       Cheryl Luman was present at Rose’s
 7   home and provided Plaintiff with Rose’s phone number.                    While
 8   Plaintiff was at the Rose property, Defendant Clark drove up,
 9   approached Plaintiff, and identified himself as a Merced County
10   Deputy Sheriff.      Clark, the son-in-law of Elizabeth Coane, asked
11   Plaintiff what he was doing at the Coane residence.
12         Plaintiff asked Clark for identification, and Clark declined.
13   Clark    was   off-duty.        Plaintiff    told   Clark    that   without
14   identification, Clark was not a sheriff’s officer.           Clark accused
15   Plaintiff of stealing something from the tack room located on the
16   Coane property.      Plaintiff told Clark that if he was accusing him
17   of being a thief, Plaintiff would “knock [Clark] on his ass.”
18   Plaintiff got into his Cushman and drove home to call the sheriff’s
19   office; Clark followed in his own vehicle.
20         Plaintiff arrived home and called the sheriff’s office.              The
21   sheriff’s office advised that a patrol car was already en route to
22   Plaintiff’s home. Shortly thereafter, Defendant Macias and another
23   sheriff’s officer arrived at Plaintiff’s residence to investigate.
24   Clark told the officers that Clark’s son had seen Plaintiff walk
25   out of the Coane tack room carrying something.            Plaintiff called
26   Clark’s son a liar.        Clark and the other sheriff’s officer left
27   Plaintiff’s residence, while Macias remained with Plaintiff.
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 1        Macias talked to Plaintiff for approximately ten minutes.
 2   According to Macias, Plaintiff was upset and gave inconsistent
 3   accounts of what he did at the Coane residence. Plaintiff contends
 4   that he only made consistent statements to Macias.                  Ultimately,
 5   Macias placed Plaintiff under arrest.             Plaintiff contends Macias
 6   told him he was being arrested for trespassing. Macias contends he
 7   told Plaintiff he was being arrested for burglary.
 8        Macias placed Plaintiff in the back of his patrol car. Macias
 9   then drove to the Coane residence to further investigate the
10   situation.     Macias then drove Plaintiff to the jail to be booked
11   on a first degree burglary charge.         Plaintiff contends Macias took
12   a   long   route     to   the   jail   because    he   knew    Plaintiff   was
13   uncomfortable in the back seat of the patrol car.
14                               III. LEGAL STANDARD.
15        Summary       judgment/adjudication     is    appropriate      when   "the
16   pleadings, the discovery and disclosure materials on file, and any
17   affidavits show that there is no genuine issue as to any material
18   fact and that the movant is entitled to judgment as a matter of
19   law." Fed. R. Civ. P. 56(c). The movant "always bears the initial
20   responsibility of informing the district court of the basis for its
21   motion,    and     identifying    those    portions    of     the   pleadings,
22   depositions, answers to interrogatories, and admissions on file,
23   together with the affidavits, if any, which it believes demonstrate
24   the absence of a genuine issue of material fact." Celotex Corp. v.
25   Catrett, 477 U.S. 317, 323, 106 S. Ct. 2548, 91 L. Ed. 2d 265
26   (1986) (internal quotation marks omitted).
27        Where the movant will have the burden of proof on an issue at
28   trial, it must "affirmatively demonstrate that no reasonable trier

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 1   of fact could find other than for the moving party." Soremekun v.
 2   Thrifty Payless, Inc., 509 F.3d 978, 984 (9th Cir. 2007).                     With
 3   respect to an issue as to which the non-moving party will have the
 4   burden of proof, the movant "can prevail merely by pointing out
 5   that there is an absence of evidence to support the nonmoving
 6   party's case." Soremekun, 509 F.3d at 984.
 7         When a motion for summary judgment is properly made and
 8   supported, the non-movant cannot defeat the motion by resting upon
 9   the   allegations      or   denials   of   its   own   pleading,   rather      the
10   "non-moving party must set forth, by affidavit or as otherwise
11   provided in Rule 56, 'specific facts showing that there is a
12   genuine issue for trial.'" Soremekun, 509 F.3d at 984. (quoting
13   Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 250, 106 S. Ct.
14   2505, 91 L. Ed. 2d 202 (1986)). "A non-movant's bald assertions or
15   a mere scintilla of evidence in his favor are both insufficient to
16   withstand summary judgment." FTC v. Stefanchik, 559 F.3d 924, 929
17   (9th Cir. 2009). "[A] non-movant must show a genuine issue of
18   material fact by presenting affirmative evidence from which a jury
19   could find in his favor." Id. (emphasis in original). "[S]ummary
20   judgment will not lie if [a] dispute about a material fact is
21   'genuine,' that is, if the evidence is such that a reasonable jury
22   could return a verdict for the nonmoving party."                 Anderson, 477
23   U.S. at 248. In determining whether a genuine dispute exists, a
24   district court does not make credibility determinations; rather,
25   the   "evidence   of    the   non-movant    is   to    be   believed,   and    all
26   justifiable inferences are to be drawn in his favor." Id. at 255.
27   ///
28   ///

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 1                                 IV. DISCUSSION.
 2   A. Fourth Amendment Claims1
 3         1. Defendant Macias
 4         Warrantless arrests require probable cause.                 E.g., United
 5   States v. Lopez, 482 F.3d 1067, 1072 (9th Cir. 2007). "Probable
 6   cause to arrest exists when officers have knowledge or reasonably
 7   trustworthy information sufficient to lead a person of reasonable
 8   caution to believe that an offense has been or is being committed
 9   by the person being arrested."             Id.    Probable cause supports an
10   arrest so long as the arresting officers had probable cause to
11   arrest the suspect for any criminal offense, regardless of their
12   stated reason for the arrest.”          Edgerly v. City & County of San
13   Francisco, 599 F.3d 946, 953 (9th Cir. 2010) (citing Devenpeck v.
14   Alford, 543 U.S. 146, 153-55 (2004)).                  Probable cause is an
15   objective standard.         Id.    The arresting officer’s subjective
16   intention is immaterial in judging whether their actions were
17   reasonable for Fourth Amendment purposes.              Id.
18         Macias    maintains   he    arrested       Plaintiff   on   suspicion    of
19   burglary.2     California Penal Code section 459 provides in pertinent
20   part:
21
22   1
       The complaint also references violation of Plaintiff’s Fourteenth Amendment
     rights, however, the allegations of the complaint are insufficient to state any
23   Fourteenth Amendment claim. The Fourth Amendment, not the Fourteenth Amendment,
     provides the standard applicable to unreasonable arrest claims.      See, e.g.,
24   Garcia v. City of Ceres, 2010 U.S. Dist. LEXIS 59748 * 17 (citing Graham v.
     Connor, 490 U.S. 386, 395 (1989)).
25
     2
        The parties dispute whether Macias arrested        Plaintiff for burglary or
26   trespassing; this dispute is immaterial to the        probable cause inquiry, as
     Plaintiff’s arrest was reasonable so long as there   was probable cause to suspect
27   that Plaintiff had committed any offense. Edgerly,   599 F.3d at 953. Defendants’
     motion for summary judgment does not contend that    Macias had probable cause to
28   arrest Plaintiff for trespassing.

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 1        Every person who enters any house, room, apartment,
          tenement, shop, warehouse, store, mill, barn, stable,
 2        outhouse or other building...with intent to commit grand
          or petit larceny or any felony is guilty of burglary.
 3
 4   Cal. Pen. Code § 459.       Defendants’ motion does not establish that
 5   Macias had sufficient information to support probable cause to
 6   suspect Plaintiff had committed the crime of burglary at the moment
 7   of Plaintiff’s arrest.
 8        According to Macias’ deposition testimony, he was dispatched
 9   to Plaintiff’s residence in connection with a burglary call.
10   Macias   observed   Clark    and   another   officer,     sergeant   Howard,
11   standing next to Plaintiff, who was sitting in his Cushman off-road
12   vehicle. Clark told Macias that Clark’s son saw Plaintiff drive up
13   to the Coaen property in a green Polaris, pull into the driveway,
14   walk to the tack room, and place an item taken from the tack room
15   in the back of Plaintiff’s vehicle.        Macias’ discussion with Clark
16   lasted only as long as it took Clark to tell Macias what Clark’s
17   son had stated.     (Macias Dep. RT at 9).         Clark and Howard left
18   Plaintiff’s residence for the Coaen residence. Macias continued to
19   detain Plaintiff.
20        Macias stood by with Plaintiff at Plaintiff’s residence for
21   approximately ten minutes, during which Macias “didn’t talk to
22   [Plaintiff] too much.”       (Macias Dep. RT at 9).       Macias continued
23   “just trying to keep small talk” with Plaintiff.            (Id.).   Macias
24   looked in the back of Plaintiff’s vehicle and found no evidence of
25   any crime. (Id. at 10).
26        Macias represents that while he was talking to Plaintiff,
27   Plaintiff’s   “story   changed     more   than   once.”    (Id.).     Macias
28   contends that Plaintiff initially stated he never set foot off his

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 1   vehicle at the Cohen residence, but later stated that he had walked
 2   around    looking   for   Mr.   Rose     at    the   Cohen    property.    (Id.).
 3   Plaintiff contends that he only gave consistent answers which
 4   indicated that he never exited his vehicle.                  (Mederios Dep. RT at
 5   19).     According to Plaintiff, he told Macias that he placed his
 6   left foot on the ground to investigate a sound he heard but did not
 7   fully exit his Polaris.         (Id.).
 8          Macias made the decision to arrest Plaintiff.                (Doc. 58, DUMF
 9   No. 44).    Macias handcuffed Plaintiff, placed him into his patrol
10   car, and drove to the Coane residence. Macias further investigated
11   the incident at the Coane residence before driving Plaintiff to the
12   station for booking.
13          The only grounds stated in Defendants’ motion for Macias’
14   suspicion that Plaintiff had committed the crime of burglary are
15   (1) Clark’s statement; and (2) Macias’ brief interaction with
16   Plaintiff at Plaintiff’s residence.3                 A factual dispute exists
17   regarding     whether     Plaintiff      “changed     his     story;”     accepting
18   Plaintiff’s    version     of   the    facts    as    true,    he   did   not   make
19   inconsistent statements to Macias.             The only undisputed basis for
20   Macias’ suspicion was Clark’s statement.               Macias did not speak to
21   Clark’s son directly before he placed Plaintiff under arrest and
22   did not conduct any further investigation until after Plaintiff was
23   already in custody.
24          The Ninth Circuit has repeatedly held that “in seeking to
25   establish probable cause, ‘officers may not solely rely on the
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27   3
       Plaintiff contends that Macias received a radio communication before he
     arrested Plaintiff. Assuming Macias did receive such contact, the substance of
28   the communication is unknown.

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 1   claim of a citizen witness. . .but must independently investigate
 2   the basis of the witness' knowledge or interview other witnesses.’”
 3   United States v. Struckman, 603 F.3d 731, 741 (9th Cir. 2010)
 4   (citing Arpin v. Santa Clara Valley Transp. Agency, 261 F.3d 912,
 5   925 (9th Cir. 2001) and Hopkins v. Bonvicino, 573 F.3d 752, 767
 6   (9th Cir. 2009)); accord Fuller v. M.G. Jewelry, 950 F.2d 1437,
 7   1444 (9th Cir. 1991) (noting requirement that officer investigate
 8   witness’s    statement    to   have   sufficient     information      regarding
 9   witness’s basis for knowledge underlying report). A fortiori,
10   Clark’s   hearsay    statement     about   what    his   son   said    he   saw,
11   unsupported by further investigation, was not sufficient in and of
12   itself to establish probable cause as a matter of law.             Macias did
13   not have any discussion with Clark’s son, the only eye witness to
14   the alleged crime.        Absent investigation into the basis for a
15   witness’s knowledge, a second-hand account of a witness statement
16   is insufficient to establish probable cause. See, e.g., Struckman,
17   603 F.3d at 741.         The fact that both Clark and his son are
18   presumptively credible is insufficient to establish probable cause.
19   Fuller, 950 F.2d at 1444.             (“We decline to adopt Appellees'
20   argument that merely because citizen witnesses are presumptively
21   reliable, the officers in this situation had no duty to examine
22   further the basis of the witness' knowledge”).4
23
     4
       Defendants cite United States v. Palos-Marquez, 591 F.3d 1272, 1275 (9th Cir.
24   2010) for the proposition that “citizen tips are particularly reliable...because
     the ‘officer can observe the informant’s demeanor and determine whether the
25   informant seems credible enough to justify immediate police action without
     further questioning.’” Palos-Marques is inapposite; it concerned a citizen’s tip
26   as the basis for reasonable suspicion, the lower standard applicable to
     investigatory vehicular stops. Defendants also cite authority that stands for
27   the proposition that police officers are “presumed reliable.”    However, at the
     time of Plaintiff’s arrest, Macias had no independent knowledge regarding the
28   credibility of Clark’s son’s statement.

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 1        Defendants are not entitled to summary judgment on the issue
 2   of whether Macias had probable cause to arrest Plaintiff for
 3   burglary.      Nor is Macias entitled to qualified immunity, as Ninth
 4   Circuit    law   clearly   established         that   a    single    citizen’s        un-
 5   investigated statement is insufficient to create probable cause at
 6   the time of Plaintiff’s arrest.5              E.g., Arpin, 261 F.3d at 925.
 7        The FAC contains a conclusory reference to “excessive and
 8   unreasonable force.”            However, the complaint does not allege
 9   sufficient facts to support a reasonable inference that Macias
10   employed excessive force.         In opposition to the motion to dismiss,
11   Plaintiff      alleges   that    Macias       “took   an   extra    long   and    time
12   consuming route to take Plaintiff to jail.”                       Assuming arguendo
13   that,     in   some   circumstances,          subjecting     an     arrestee     to    a
14   gratuitously prolonged car ride in an uncomfortable patrol car can
15   constitute excessive force, an ordinary officer in Macias’ position
16   could have made a reasonable mistake as to the constitutionality of
17   taking the route to the jail that he did.                   Summary judgment is
18   GRANTED as to any excessive force claim asserted by Plaintiff.
19       2. Defendant Clark
20        The FAC does not allege, and there is no evidence of, any
21   seizure of Plaintiff effected by Clark.                A person is not "seized"
22   within the meaning of the Fourth Amendment unless "by means of
23   physical force or show of authority, his freedom of movement is
24   restrained."      United States v. Smith, 633 F.3d 889, 892-93 (9th
25   Cir. 2011).        In the absence of physical force, in order to
26
27   5
       Whether Plaintiff gave inconsistent statements to Macias bears on both the
     probable cause inquiry and the qualified immunity inquiry, but this issue is
28   disputed.

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 1   constitute a seizure, an officer's show of authority must be
 2   accompanied by "submission to the assertion of authority."                   Id. at
 3   893.
 4          It is undisputed that, after Clark announced that he was a
 5   deputy sheriff, Plaintiff refused to submit to his authority
 6   because    Clark      was   not     in   uniform    and   did        not    provide
 7   identification.       Plaintiff threatened to assault Clark and then
 8   left Clark’s presence as Clark was attempting to question him about
 9   why he was at the Coane property.             Clark did not directly effect
10   any    seizure   of   Plaintiff     within    the   meaning     of    the   Fourth
11   Amendment.
12          Plaintiff contends that Clark conspired with Macias to violate
13   Plaintiff’s      constitutional      rights    by   fabricating        statements
14   intended to give rise to probable cause.              A party may be liable
15   under section 1983 where the party engages in a conspiracy or acts
16   in concert with state agents to deprive one’s constitutional
17   rights. E.g., Rhodes v. Placer County, 2011 U.S. Dist. LEXIS 35497
18   * 27 n.7 (E.D. Cal.         2011) (citing Fonda v. Gray, 707 F.2d 435,
19   437-38 (9th Cir. 1983)).          Although there is no direct evidence of
20   a conspiracy, accepting Plaintiff’s version of the facts and
21   drawing all reasonable inferences therefrom, whether Clark and
22   Macias conspired to manufacture probable cause to arrest Plaintiff
23   is a question of fact.            A reasonable jury crediting Plaintiff’s
24   version of the facts could find that Clark and Macias agreed to
25   cause Plaintiff’s arrest even in the absence of probable cause.
26   B. False Imprisonment Claim
27          Under California law, the tort of false imprisonment consists
28   of “nonconsensual, intentional confinement of a person, without

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 1   lawful privilege, for an appreciable length of time, however
 2   short.”   Fermino v. Fedco, Inc., 7 Cal. 4th 701, 716 (Cal. 1994)
 3   (citation omitted).    A peace officer may not be held liable for the
 4   tort of false imprisonment based on an arrest supported by probable
 5   cause.    E.g., O'Toole v. Superior Court, 140 Cal. App. 4th 488,
 6   510-11, 44 Cal. Rptr. 3d 531 (2006) (discussing Cal. Pen. Code §
 7   847(b)(1)).
 8        Defendants contend they are entitled to summary judgment on
 9   Plaintiff’s false imprisonment claim because Plaintiff’s arrest was
10   supported by probable cause.     Defendants also contend that summary
11   judgment should be granted as to Clark because he did not effect
12   Plaintiff’s arrest.    As factual disputes preclude summary judgment
13   on the issue of probable cause, Defendants’ are not entitled to
14   summary judgment on Plaintiff’s false imprisonment claim.               Clark
15   may be found liable for false imprisonment to the extent Plaintiff
16   can prove that Clark conspired with Macias to cause Plaintiff to be
17   arrested without probable cause.
18   C. Punitive Damages
19        Punitive damages are available in an action pursuant to
20   section 1983 when the Defendants conduct “is shown to be motivated
21   by evil motive or intent, or when it involves reckless or callous
22   indifference to the federally protected rights of others.”              E.g.,
23   Smith v. Wade, 461 U.S. 30, 56 (1983). Similarly, California Civil
24   Code section 3294(a) authorizes punitive damages where clear and
25   convincing evidence establishes that a defendant is guilty of
26   oppression,   fraud,   or   malice.        Cal.   Civ.   Code   §   3294(a).
27   Defendants contend there is no evidence to support an award of
28   punitive damages.

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 1         The intent each Defendant harbored during Plaintiff’s arrest
 2   is a question of fact.        A jury crediting Plaintiff’s version of the
 3   events could conclude that Defendants acted with the requisite
 4   malicious intent to justify punitive damages.                      Defendants’ motion
 5   for summary judgment on the issue of punitive damages is DENIED.
 6   D. Continuance
 7         Plaintiff requests a continuance in order to permit him to
 8   obtain a declaration from his surgeon regarding the condition of
 9   his   shoulder   at     the   time    of       his     arrest.     The     condition   of
10   Plaintiff’s shoulder is irrelevant to the probable cause inquiry.
11   Plaintiff’s request is DENIED.
12                                             ORDER
13         For the reasons stated, IT IS ORDERED:
14         1) Summary judgment is GRANTED on Plaintiff’s Fourth Amendment
15         excessive force claim;
16         2) Summary judgment is DENIED on Plaintiff’s Fourth Amendment
17         unreasonable arrest claim;
18         3)   Summary      judgment          is        DENIED   on    Plaintiff’s     false
19         imprisonment claim;
20         4)   Summary    judgment       is    DENIED       on   the   issue    of   punitive
21         damages; and
22         5) Plaintiff shall submit a form of order consistent with this
23         memorandum decision within 5 days of electronic service of
24         this decision.
25         IT IS SO ORDERED.
26   Dated: August 1, 2011                          /s/ Oliver W. Wanger
     emm0d6                                    UNITED STATES DISTRICT JUDGE
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